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                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION, AT DAYTON

      IN RE: JERRY WAYNE OAKES                 CASE NO: 13-33828
             JENNIFER ANN OAKES                CHAPTER 7
                 Debtors                       JUDGE WALTER



     DONALD F. HARKER, III
     CHAPTER 7 BANKRUPTCY TRUSTEE ADV. CASE NO. 14-3014
     2135 MIAMISBURG-CENTERVILLE RD.
     CENTERVILLE, OHIO 45459

             Plaintiff vs.

     PNC MORTGAGE COMPANY,A DIVISION
     OF PNC BANK,N.A., SUCCESSOR IN
     INTEREST BY MERGER TO NATIONAL
     CITY BANK
     3232 NEWMARK DR.
     MIAMISBURG, OH 45342

             Defendant.


  AMENDED COMPLAINT OF TRUSTEE TO AVOID AND RECOVER/PRESERVE
   PURPORTED MORTGAGE LIEN AS TO DEBTOR’S REAL PROPERTY AT 41
  NOELLE COURT, FRANKLIN, OHIO, PURSUANT TO 11 U.S.C. §§541, 544, 547,
  550 AND 551, INCORPORATING O.R.C. §5301.01; OR IN THE ALTERNATIVE
      FOR DECLARATORY JUDGMENT FINDING THAT DEFENDANT’S
    PURPORTED MORTGAGE LIEN IS SUBORDINATED TO PLAINTIFF’S
  JUDICIAL LIEN; AND FOR QUIET TITLE; AND TO DISALLOW ANY AND ALL
        PROOFS OF CLAIMS FILED OR TO BE FILED BY DEFENDANT


       Now comes Donald F. Harker, III, the duly appointed and acting Chapter 7 Trustee
(“Plaintiff” or “Trustee”) of the Debtors herein, by and through counsel, and pursuant to
Rule 7001, of the Federal Rules of Bankruptcy Procedure, hereby brings this Complaint
against PNC Mortgage Company (hereinafter referred to as “Defendant”) and states and
avers as follows:
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                       BACKGROUND OF THE CONTROVERSY

        1.      This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §1334.
This adversary proceeding arises under Title 11 of the United States Code and arises in
or is related to the above-captioned Chapter 7 case now pending before the United States
Bankruptcy Court for the Southern District of Ohio, Western Division at Dayton, and has
been referred to this Court by the Standing Order of Reference entered in this District on
July 30, 2984 pursuant to 28 U.S.C. §157. This is alleged to be a core proceeding, inter
alia, pursuant to 28 U.S.C. §157(b)(2)(A), (E), (F), (H), (K) and (O).

      2.      Defendant herein is subject to the personal jurisdiction of this Court, and
venue lies with the Court pursuant to 28 U.S.C. §1409.

       3.     Debtors Jerry Wayne and Jennifer Ann Oakes filed a Chapter 7
bankruptcy petition on September 17, 2013 (“Petition Date”). The Debtors scheduled
an interest in real property located at 41 Noelle Court, Franklin, Ohio (the “Property”)
valued at One-Hundred Sixty Thousand Dollars ($160,000.00).

        4.     The Debtors acquired title to the Property by a deed dated May 15, 2002 and
filed with the Warren County, Ohio Recorder at Book 2546 Page 418. Attached hereto
and marked Exhibit “A” is a copy of the Deed.

       5.     Upon information and belief, Defendant is the holder of a purported
first mortgage lien on the Property owned by the Debtors.

      6.    Plaintiff, Donald F. Harker, III, Trustee is the duly appointed and acting
Chapter 7 Bankruptcy Trustee of the Debtors and has standing to bring this
proceeding pursuant to 11 U.S.C. §§541, 544, 547, 550 and/or 551.

       7.      On or about May 30, 2003, the Defendant filed with the Recorder of
Warren County, Ohio a document purporting to be a mortgage lien against the Property
in order to secure the sum of $144,000.00 (the “Purported Mortgage”). A true and accurate
copy of the Purported Mortgage is attached hereto as Exhibit “B”.

       8.     The Purported Mortgage was not executed in conformity with the laws of the
State of Ohio; OHIO REV. CODE §§ 5301.01 et seq. in that the same was not properly
acknowledged before a Notary Public, pursuant to the Uniform Recognition of
Acknowledgment Acts (including Sections 147.51 through 147.58 of the Ohio Revised
Code.) Specifically, the acknowledgment clause of the Purported Mortgage does not
acknowledge the signature of the Debtors and the acknowledgment is, therefore,
defective.

     FIRST CAUSE OF ACTION - AVOIDANCE PURSUANT TO 11 U.S.C.
              §544(a), INCORPORATING O.R.C. §5301.01

        9.    Plaintiff realleges and incorporates Paragraphs 1 through 8 as if fully
rewritten herein.
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       10.    The Plaintiff, Trustee in Bankruptcy, has as of the commencement of the
case and pursuant to the provisions of 11 U.S.C. §544(a)(1), the rights and powers of, or
may avoid any transfer of property of the debtor that is avoidable by “a creditor that
extends credit to the debtor at the time of the commencement of the case, and that
obtains, at such time and with respect to such credit, a judicial lien on all property on
which a creditor on a simple contract could have obtained such a judicial lien, whether or
not such a creditor exists.”

       11.   The Purported Mortgage referred to above was not entitled to record under
the laws of the State of Ohio as relates to the Property due to lack of a proper
acknowledgment, and the Purported Mortgage is therefore subject to avoidance as related
to the Property by the Plaintiff under the provision of 11 U.S.C.§544(a)(1), Ohio Rev.
Code §5301.01, and the laws of the State of Ohio.

       12.      In order for the Purported Mortgage to be entitled to record - and to,
therefore, be valid as against the Trustee in his capacity as judicial lienholder pursuant
to 11 U.S.C. §544(a)(1) - the Purported Mortgage must comply with the formalities
required by Ohio Revised Code of a mortgage, specifically including the formalities
required by Section 5301.01 of the Ohio Revised Code.

       13.    Section 5301.01 of the Ohio Revised Code requires that the mortgage be:

              a.      signed by the grantor;

              b.      such signature must be acknowledged by the grantor in front of a
                      qualifying individual, most commonly a notary public; and

              c.      the qualifying individual must certify the acknowledgment of the
                      grantor.

       14.   The acknowledgment in the Purported Mortgage fails to satisfy the
requirements of Ohio Revised Code Section 5301.01 and the Uniform Recognition of
Acknowledgment Acts (including Sections 147.51 through 147.58 of the Ohio Revised
Code), as it fails to certify the Debtors’ signatures by a qualified individual in
the acknowledgment clause and does not demonstrate on its face that the Debtors’
signatures were acknowledged in front of a qualifying individual.

      15.    The acknowledgment in the Purported Mortgage does not substantially
comply with the requirements of an acknowledgment within the meaning of Section
5301.01 of the Ohio Revised Code or any other section thereof.

       16.    As a direct and proximate result of the foregoing, Plaintiff is entitled to
judgment by this Court avoiding the Purported Mortgage as related to the Property,
including any right, title or interest of the Defendant in the Property, preserving the priority
of same and recovering any proceeds of the sale of the Property in such priority position
for the benefit of the bankruptcy estate pursuant to 11 U.S.C. §§ 544, 550 and 551 and
O.R.C. §5301.01.
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      SECOND CAUSE OF ACTION - AVOIDANCE PURSUANT TO 11 U.S.C. §547

        17.      Plaintiff re-alleges and incorporates Paragraphs 1 through 16 as if
fully rewritten herein.

      18.    Upon information and belief, the Defendant was at the time of the recording of
the Purported Mortgage and on the Petition Date, a creditor of the Debtors.

       19.     The grant by the Debtors of the Purported Mortgage to the Defendant was a
“transfer” as that term is defined in 11 U.S.C. §101(54).

      20.     The lack of proper acknowledgment of the Debtors’ signature on the Purported
Mortgage rendered their recording ineffective as to the Property under the provisions of
O.R.C. §§147.53, 147.54, 147.541, 147.55 and 5301.01 et seq., and the laws of the State of
Ohio; and therefore, pursuant to 11 U.S.C. § 547(e)(2)(C) the transfer to the Defendant is
deemed to have been made immediately preceding the date of the filing of the Petition Date,
and therefore within the ninety (90) day preference period.

       21.   The transfer of the lien pursuant to the Purported Mortgage described above
was on account of an antecedent debt owed by the Debtors to the Defendant before the
transfer was made, and the effect of such transfer was to enable the Defendant to receive
more than said Defendant would receive if the transfer had not been made and the
Defendant was to receive payment of the debt to the extent provided in a Chapter 7
bankruptcy case.

      22.    The transfer was not exempt from avoidance under any of the provisions of 11
U.S.C. §546 or §547.

        23.     As a direct and proximate result of the foregoing, Plaintiff is entitled to
judgment by this Court avoiding the Purported Mortgage as it relates to the Property,
including any right, title or interest of the Defendant in the Property, preserving the priority of
the Purported Mortgage, and recovering any proceeds of the sale of the Property in such
priority position for the benefit of the bankruptcy estate pursuant to 11 U.S.C. §§547, 550
and 551 and O.R.C. §5301.25.

                THIRD CAUSE OF ACTION – DECLARATORY JUDGMENT

        24. Plaintiff realleges and incorporates Paragraphs 1 through 23 as if fully
rewritten herein.

      25. Pursuant to 11 U.S.C. §544(a)(1), the Plaintiff has a judicial lien on all
property on which a creditor on a simple contract could have obtained such a judicial lien,
whether or not such a creditor exists.

      26.   Defendant’s Purported Mortgage was not entitled to record under O.R.C.
§5301.01. Plaintiff is entitled to avoid the Purported Motion as set forth in the first two
causes of action herein. However, in the alternative, Plaintiff is entitled to Declaratory
Judgment against Defendant declaring that:
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      a.     Plaintiff has a first and best priority lien under 11 U.S.C. §544(a)(1) that is
             against the Property, which Trustee’s lien is superior to Defendant’s Purported
             Mortgage lien that is defective and not entitled to record; and

      b.     Defendant’s Purported Mortgage is subordinate to Plaintiff’s judicial lien
             under 11 U.S.C. §544(a)(1); and

      c.     the Property is property that the Trustee can use and sell pursuant to 11
             U.S.C. §§541 and 363.

    FOURTH CAUSE OF ACTION – QUIET TITLE PURSUANT TO O.R.C. § 5303.01

       27.   Plaintiff realleges and incorporates paragraphs 1 through 26 as if fully rewritten
herein.

        28.  The interest of the Debtors in the Property is property of the bankruptcy estate
within the meaning of 11 U.S.C. §541.

      29.      On the Petition Date, a search of the Recorder’s Office records would have
shown: 1) the Purported Mortgage does not encumber the Debtors’ interest in the Property
because it fails to meet the requirements of the Ohio Revised Code Section 5301.01; 2) the
Debtors granted a defective Purported Mortgage to the Defendant; 3) the Purported
Mortgage should not have been recorded because it was not properly executed; 4) the
Debtors are the sole owners of the Property; and 5) therefore, the Debtors’ interest in the
Property is wholly encumbered.

      30.    The Trustee owns the interest of a hypothetical judicial lienholder in the
Property.

       31.    The Trustee, in his capacity as judicial lienholder, brings the instant cause of
action to quiet title to the Property pursuant to 11 U.S.C §544(a)(1) and the Ohio Revised
Code Section 5303.01.

       32.    The Purported Mortgage on the Property was not properly perfected because it
did not conform with the requirements of Ohio Revised Code Section 5301.01(A).

      33.     The Defendant claims an interest in the Property that is adverse to the
Trustee’s interest and has clouded the legal title of the Property by recording the Purported
Mortgage, which purports to encumber the entirety of the Property, but does not.

     34.    The Trustee, in his capacity as judicial lienholder, is entitled to have the claim
made by the Defendant to the legal title of the Property quieted.

 FIFTH CAUSE OF ACTION - OBJECTION TO ANY AND ALL PROOFS OF CLAIM
                  FILED OR TO BE FILED BY DEFENDANT

         35.   Plaintiff re-alleges and incorporates Paragraphs 1 through 34 as if fully
 rewritten herein.
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       36.    Based on the foregoing, Plaintiff objects, pursuant to 11 U.S.C. §502 and
Rules 3007, 7001 and 9014 of the Federal Rules of Bankruptcy Procedure, to any and all
proofs of claim filed or to be filed by the Defendant and asks the Court to disallow same.
As used herein the term “Claim” shall include without limitation, both pre and post-petition
claims of the Defendant, including any claimed administrative expense payable pursuant
to 11 U.S.C. §503.

       37.    Alternatively, based on the foregoing, Plaintiff hereby requests that this Court
disallow any and all claims whatsoever of the Defendant unless and until Defendant returns
all monies or other property due to Plaintiff, as provided by 11 U.S.C. §502.

PRAYER FOR RELIEF

     WHEREFORE, Plaintiff, based upon the foregoing Paragraphs 1 through 37
demands judgment against Defendant on its claims for relief as follows:

              A.     On the First Cause of Action, for an Order determining that the
                     Purported Mortgage granted to Defendant as relates to the Property
                     is unenforceable and/or subordinated as to such interest against the
                     Trustee as a hypothetical judgment creditor as of the Petition Date
                     and that the Trustee may, therefore, avoid the Purported Mortgage to
                     the extent it purports to encumber the Property and recovering and
                     preserving for the bankruptcy estate the amount and priority of the
                     Purported Mortgage pursuant to 11 U.S.C. §§544(a)(1), 550 and
                     551; and

              B.    On the Second Cause of Action, for an Order pursuant to 11 U.S.C.
                    §547 avoiding the transfer to the Purported Mortgage as relates to the
                    Property and recovering and/or preserving for the bankruptcy estate
                    the amount and priority of the Purported Mortgage as relates to the
                    Property pursuant to 11 U.S.C. §§ 547, 550, and 551; and

              C.    On the Third Cause of Action, for an Order declaring that (1.) Plaintiff
                    has a first and best priority lien under 11 U.S.C. §544(a)(1) that is
                    against the Property, which Trustee’s lien is superior to Defendant’s
                    Purported Mortgage lien that is defective and not entitled to record, (2.)
                    Defendant’s Purported Mortgage is subordinate to Plaintiff’s judicial
                    lien under 11 U.S.C. §544(a)(1), and (3.) the Property is property that
                    the Trustee can use and sell pursuant to 11 U.S.C. §§541 and 363; and

              D.    On the Fourth Cause of Action, for an Order quieting the title to the
                    Property, and finding that the Purported Mortgage is void (but
                    preserved for the benefit of the estate pursuant to 11 U.S.C. §551)
                    and/or subordinated to the Trustee’s interest, to the extent that it
                    purports to encumber the interest in the Property titled in the Debtors’
                    names, and/or to the extent that it purports to be superior to the
                    Trustee’s judicial lien, pursuant to O.R.C. §5303.01 and 11 U.S.C.
                    §§544, 550 and 551; and
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             E.   On the Fifth Cause of Action, for an Order pursuant to 11 U.S.C.§502
                  and Rule 3007 of the Federal Rules of Bankruptcy Procedure
                  disallowing in full any and all claims of Defendant whatsoever, filed or
                  unfiled, until the Defendant has returned to the estate all property
                  avoided pursuant to 11 U.S.C. §544 and/or 547; and

             F.   For such other and further relief as may be proper and necessary.


                                               /s/ John Paul Rieser
                                              John Paul Rieser, Esq. (0017850)
                                              Case Attorney for Donald F. Harker, III,
                                              Trustee/ Plaintiff
                                              Rieser & Marx LLC, Of Counsel
                                              7925 Graceland Street
                                              Dayton, Ohio 45459-3834
                                              Tel: 937/224-4128 Fax: 937/224-3090
                                              e-Mail: attyecfdesk@riesermarx.com


                              CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing AMENDED COMPLAINT OF TRUSTEE TO
AVOID AND RECOVER/PRESERVE                   PURPORTED MORTGAGE LIEN AS TO
DEBTOR’S REAL PROPERTY AT 41 NOELLE COURT, FRANKLIN, OHIO,
PURSUANT TO 11 U.S.C. §§541, 544, 547, 550 AND 551, INCORPORATING O.R.C.
§5301.01; OR IN THE ALTERNATIVE FOR DECLARATORY JUDGMENT
FINDING THAT DEFENDANT’S PURPORTED MORTGAGE LIEN IS
SUBORDINATED TO PLAINTIFF’S JUDICIAL LIEN; AND FOR QUIET TITLE;
AND TO DISALLOW ANY AND ALL PROOFS OF CLAIMS FILED OR TO BE FILED
BY DEFENDANT was served by the Court’s electronic ECF noticing system, upon the
following this 8th day of July, 2016:


      Amelia A Bower abower@plunkettcooney.com,
      dstogner@plunkettcooney.com;bkennedy@plunkettcooney.com
      Donald F Harker dharkerlaw@gmail.com, oh26@ecfcbis.com


/s/ John Paul Rieser
________________________
John Paul Rieser, Esq.
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